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                                                                      FILED

                                                                                   February 6, 2024

                                                                               CLERK, U.S. DISTRICT COURT
                             UNITED STATES DISTRICT COURT                      WESTERN DISTRICT OF TEXAS
                              WESTERN DISTRICT OF TEXAS                            By:        LT
                                   AUSTIN DIVISION
                                   Austin                                                           Deputy

 UNITED STATES OF AMERICA                                               AU:24-CR-00031-RP
              Plaintiff
                                                       INDICTMENT
 v
                                                       [CTS 1-3: 26 U.S.C. § 7206(1), Filing False
 FRANK RICHARD AHLGREN, III
             Defendant                                 Tax Return;
                                                       CTS 4-7: 31 U.S.C. § 5324(a)(3),
                                                       Structuring]



THE GRAND JURY CHARGES:

                                        INTRODUCTION

At times relevant to this Indictment:

     1. FRANK RICHARD AHLGREN, III, also known as “Paco,” resided in Austin, Texas,

within the Western District of Texas.

     2. The Internal Revenue Service (“IRS”) was an agency of the United States Department of

the Treasury responsible for administering the tax laws of the United States and collecting taxes

owed to the United States.

     3. Cryptocurrency, a type of virtual currency, was a decentralized, peer-to peer, network-

based medium of value or exchange that may be used as a substitute for currency to buy goods or

services or exchanged for currency or other cryptocurrencies. Bitcoin was a type of

cryptocurrency. Bitcoin was not issued by any government, bank, or company, but rather

controlled through computer software operating via a decentralized, peer-to-peer network.

Individuals could obtain bitcoin through several avenues, including from exchanges, directly

from other people, and by a process called mining. To conduct transactions on a blockchain, an

individual must use a Bitcoin address which was also referred to as a public key. A Bitcoin

address was akin to a bank account number and consisted of a string of more-than-26-character-


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long, case-sensitive letters and numbers. Bitcoin addresses were controlled through the use of a

unique corresponding private key. This private key was the equivalent of a password or PIN and

was necessary to access the bitcoins associated with a Bitcoin address. Only the holder of an

address’s private key could authorize the transfer of bitcoin from that address to another address.

   4. All bitcoin transactions were recorded on what was known as the Bitcoin blockchain. The

Bitcoin blockchain was essentially a distributed public ledger that kept track of all bitcoin

transactions, incoming and outgoing, and updated approximately six times per hour. The Bitcoin

blockchain recorded every bitcoin address that ever received bitcoins and maintained records of

every transaction. All records on the Bitcoin blockchain were publicly available.

   5. Generally, a wallet was a software application that allowed bitcoin users to easily send

and receive bitcoins and store their private keys for their bitcoin addresses.

   6. When a taxpayer sold cryptocurrency, including bitcoin, then the taxpayer had to report

sales proceeds and any gains or losses from the sale of the cryptocurrency on their tax return. A

taxpayer reported sales proceeds and any gains or losses from the sale of cryptocurrency on an

IRS Form 8949, Sales and Other Dispositions of Capital Assets. The totals from the IRS Form

8949 would flow onto the taxpayer’s Schedule D, Capital Gains and Losses. Both the IRS Form

8949 and Schedule D would be attached to the taxpayer’s Form 1040, U.S. Individual Income

Tax Return. To determine the gain or loss from the sale, the taxpayer would subtract their basis

from the sales proceeds. The basis was generally the price that the taxpayer paid to purchase the

cryptocurrency.

   7. When a tax preparer prepared and electronically filed a tax return for a client, the tax

return contained an electronic signature of the taxpayer on the IRS Form 1040. In such cases,

the taxpayer was required to sign an IRS Form 8879, e-file Signature Authorization, declaring,




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under penalties of perjury, that the taxpayer examined the electronic tax return and

accompanying schedules and statements, and to the best of the taxpayer’s knowledge and belief,

they are true, correct, and complete. AHGLREN signed IRS Forms 8879 for his 2017, 2018, and

2019 electronically filed tax returns.

    8. Title 31, United States Code, Section 5313 and the regulations promulgated thereunder,

required any domestic financial institution that engaged in a currency transaction (e.g., a deposit

or withdrawal) in excess of $10,000 with a customer to report the transaction to the United States

Department of the Treasury by filing a Currency Transaction Report (“CTR”). Structuring cash

deposits to avoid triggering the filing of a CTR by financial institution was prohibited by Title

31, United States Code, Section 5324(a).

                                            COUNT ONE
                                         [26 U.S.C. § 7206(1)]

    9. The factual allegations contained in Paragraphs 1 through 7 of the Introduction Section of

this Indictment are realleged and incorporated herein as if copied verbatim.

    10. On or about October 23, 2017, AHLGREN sold approximately 640 bitcoins worth a total

of approximately $3.7 million that he used to purchase a house in Park City, Utah.

                                                                         Defendant,

                                FRANK RICHARD AHLGREN, III,

willfully made and subscribed a false U.S. Individual Income Tax Return, Form 1040, for the

calendar year 2017, which was verified by a written declaration that it was made under the

penalties of perjury, and which the Defendant did not believe to be true and correct as to every

material matter. That tax return which was filed with the Internal Revenue Service was false as

to a material matter in that, among other things, it:




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    (1) reported on Line 13 a capital gain of $21,167, whereas, as the Defendant knew, he had

        capital gains in excess of that amount;

    (2) reported on IRS Form 8949, Sales and Other Dispositions of Capital Assets, Part 1

        (Short-Term), Line 1, short-term transactions in bitcoin with a cost basis of $3,021,492,

       whereas, as the Defendant knew, he had a cost basis less than that amount; and

    (3) reported on IRS Form 8949, Sales and Other Dispositions of Capital Assets, Part 2

        (Long-Term), Line 2, long-term transactions in bitcoin with a gain of $510,752, whereas,

        as the Defendant knew, he had long-term gains in excess of that amount.

       All in violation of Title 26, United States Code, Section 7206(1).

                                           COUNT TWO
                                        [26 U.S.C. § 7206(1)]

    12. The factual allegations contained in Paragraphs 1 through 7 of the Introduction Section of

this Indictment are realleged and incorporated herein as if copied verbatim.

    13. In 2018, AHLGREN sold approximately 38 bitcoins worth a total of approximately

$398,000 to purchase gold coins.

    14. In April 2018, AHLGREN sold approximately 13 bitcoins to Individual A, who paid

AHLGREN a total of approximately $125,000 in cash.

                                                                         Defendant,

                                FRANK RICHARD AHLGREN, III,

willfully made and subscribed a false U.S. Individual Income Tax Return, Form 1040, for the

calendar year 2018, which was verified by a written declaration that it was made under the

penalties of perjury, and which the Defendant did not believe to be true and correct as to every

material matter. That tax return which was filed with the Internal Revenue Service was false as

to a material matter in that, among other things, it:



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   (1) attached a false IRS Form 8949, Sales and Other Dispositions of Capital Assets, that

       failed to report all of his proceeds from the sale of bitcoin and other cryptocurrencies,

       whereas as the Defendant knew, he had proceeds from the sale of bitcoin that he did not

       report;

   (2) attached a false Schedule D, Capital Gains and Losses, that failed to report all of his

       proceeds from the sale of bitcoin and other cryptocurrencies, whereas, as the Defendant

       knew, he had proceeds from the sale of bitcoin that he did not report; and

   (3) falsely declared under penalties of perjury that the return and accompanying schedules

       and statements were true, correct, and complete, whereas the Defendant knew that that

       this declaration was false because he failed to report all of his proceeds from the sale of

       bitcoin and other cryptocurrencies.

       All in violation of Title 26, United States Code, Section 7206(1).

                                         COUNT THREE
                                       [26 U.S.C. § 7206(1)]

    16. The factual allegations contained in Paragraphs 1 through 7 of the Introduction Section of

this Indictment are realleged and incorporated herein as if copied verbatim.

    17. On or about February 13, 2019, AHLGREN sold approximately 13 bitcoins to Individual

A, who paid AHLGREN a total of approximately $47,000 in cash.

    18. On or about May 15, 2019, AHLGREN sold approximately 10 bitcoins to Individual A,

who paid AHLGREN a total of approximately $79,000 in cash.

    19. On or about October 15, 2019, AHLGREN sold approximately 6 bitcoins to Individual A,

who paid AHLGREN a total of approximately $44,000 in cash.

                                                                               Defendant,




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                                FRANK RICHARD AHLGREN, III,

willfully made and subscribed a false U.S. Individual Income Tax Return, Form 1040, for the

calendar year 2019, which was verified by a written declaration that it was made under the

penalties of perjury, and which the Defendant did not believe to be true and correct as to every

material matter. That tax return, which was filed with the Internal Revenue Service was false as

to a material matter in that, among other things, it:

    (1) attached a false IRS Form 8949, Sales and Other Dispositions of Capital Assets, that

        failed to report all of his proceeds from the sale of bitcoin and other cryptocurrencies,

       whereas as the Defendant knew, he had proceeds from the sale of bitcoin that he did not

       report;

    (2) attached a false Schedule D, Capital Gains and Losses, that failed to report all of his

       proceeds from the sale of bitcoin and other cryptocurrencies, whereas, as the Defendant

       knew, he had proceeds from the sale of bitcoin that he did not report; and

    (3) falsely declared under penalties of perjury that the return and accompanying schedules

        and statements were true, correct, and complete, whereas the Defendant knew that that

       this declaration was false because he failed to report all of proceeds from the sale of

       bitcoin and other cryptocurrencies.

       All in violation of Title 26, United States Code, Section 7206(1).

                                          COUNT FOUR
                                      [31 U.S.C. § 5324(a)(3)]

    21. The factual allegations contained in Paragraphs 1 through 8 of the Introduction Section of

this Indictment are realleged and incorporated herein as if copied verbatim.

    22. On or about February 13, 2019, AHLGREN sold approximately 13 bitcoins to Individual

A, who paid AHLGREN a total of approximately $47,000 in cash.



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   23. From on or about February 13, 2019, through on or about March 4, 2019, as set forth

                                              Defendant,

                               FRANK RICHARD AHLGREN, III,

did knowingly and for the purpose of evading the reporting requirements of Section 5313(a) of

Title 31, United States Code, and the regulations promulgated thereunder, structure, assist in

structuring, and attempt to structure transactions with a domestic financial institution, identified

below. During that time period, AHLGREN made, and caused to be made, cash deposits totaling

approximately $44,505.00 in individual amounts of $10,000 or less to avoid the filing of a CTR:

             Paragraph           Financial Institution      Date of Deposit      Deposit Amount
                  24.           JPMorgan Chase Bank            02/13/19             $8,060.00
                  25.              University FCU              02/13/19             $7,060.00
                  26.           JPMorgan Chase Bank            02/13/19             $6,000.00
                  27.           JPMorgan Chase Bank            02/15/19             $9,040.00
                  28.           JPMorgan Chase Bank            02/19/19             $9,680.00
                  29.           JPMorgan Chase Bank            03/04/19             $4,665.00

       All in violation of Title 31, United States Code, Section 5324(a)(3) and Title 31, Code of

Federal Regulations, Section 103.22

                                          COUNT FIVE
                                      [31 U.S.C. § 5324(a)(3)]

   30. The factual allegations contained in Paragraphs 1 through 8 of the Introduction Section of

this Indictment are realleged and incorporated herein as if copied verbatim.

   31. On or about May 15, 2019, AHLGREN sold approximately 10 bitcoins to Individual A,

who paid AHLGREN a total of approximately $79,000 in cash.

   32. From on or about May 15, 2019, through on or about May 28, 2019, as set forth below, in

                                   Defendant,

                               FRANK RICHARD AHLGREN, III,




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did knowingly and for the purpose of evading the reporting requirements of Section 5313(a) of

Title 31, United States Code, and the regulations promulgated thereunder, structure, assist in

structuring, and attempt to structure transactions with a domestic financial institution, identified

below. During that time period, AHLGREN made, and caused to be made, cash deposits totaling

approximately $54,490.00 in individual amounts of $10,000 or less to avoid the filing of a CTR:

             Paragraph          Financial Institution      Date of Deposit      Deposit Amount
                  33.          JPMorgan Chase Bank            05/15/19              $9,900
                  34.          JPMorgan Chase Bank            05/17/19              $9,740
                  35.          JPMorgan Chase Bank            05/21/19              $9,940
                  36.          JPMorgan Chase Bank            05/23/19              $9,960
                  37.            Texas Health Credit
                                       Union                     05/23/19             $5,000
                   38.         JPMorgan Chase Bank               05/28/19             $9,950

       All in violation of Title 31, United States Code, Section 5324(a)(3) and Title 31, Code of

Federal Regulations, Section 103.22

                                           COUNT SIX
                                      [31 U.S.C. § 5324(a)(3)]

   39. The factual allegations contained in Paragraphs 1 through 8 of the Introduction Section of

this Indictment are realleged and incorporated herein as if copied verbatim.

   40. On or about October 15, 2019, AHLGREN sold approximately 6 bitcoins to Individual A,

who paid AHLGREN a total of approximately $44,000 in cash.

   41. From on or about October 15, 2019, through on or about October 25, 2019, as set forth

                                             Defendant,

                               FRANK RICHARD AHLGREN, III,

did knowingly and for the purpose of evading the reporting requirements of Section 5313(a) of

Title 31, United States Code, and the regulations promulgated thereunder, structure, assist in

structuring, and attempt to structure transactions with a domestic financial institution, identified




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below. During that time period, AHLGREN made, and caused to be made, cash deposits totaling

approximately $40,720.00 in individual amounts of $10,000 or less to avoid the filing of a CTR:

             Paragraph           Financial Institution      Date of Deposit      Deposit Amount
                  42.           JPMorgan Chase Bank            10/15/19              $5,000
                  43.             Texas Health Credit          10/15/19
                                        Union                                         $9,900
                   44.          University Federal CU            10/16/19             $9,140
                   45.          University Federal CU            10/21/19             $9,580
                   46.          University Federal CU            10/25/19             $7,100

       All in violation of Title 31, United States Code, Section 5324(a)(3) and Title 31, Code of

Federal Regulations, Section 103.22

                                          COUNT SEVEN
                                      [31 U.S.C. § 5324(a)(3)]

   47. The factual allegations contained in Paragraphs 1 through 8 of the Introduction Section of

this Indictment are realleged and incorporated herein as if copied verbatim.

   48. On or about January 15, 2020, AHLGREN sold approximately 5 bitcoins to Individual A,

who paid AHLGREN a total of approximately $44,000 in cash.

   49. From on or about January 15, 2020, through on or about January 23, 2020, as set forth

                                              Defendant,

                               FRANK RICHARD AHLGREN, III,

did knowingly and for the purpose of evading the reporting requirements of Section 5313(a) of

Title 31, United States Code, and the regulations promulgated thereunder, structure, assist in

structuring, and attempt to structure transactions with a domestic financial institution, identified

below. During that time period, AHLGREN made, and caused to be made, cash deposits totaling

approximately $34,800.00 in individual amounts of $10,000 or less to avoid the filing of a CTR:




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            Paragraph            Financial Institution   Date of Deposit     Deposit Amount
                 50.               Texas Health CU          01/15/20             $5,500
                 51.            JPMorgan Chase Bank         01/15/20             $9,500
                 52.            University Federal CU       01/16/20             $9,900
                 53.            University Federal CU       01/21/20             $9,900

       All in violation of Title 31, United States Code, Section 5324(a)(3) and Title 31, Code of

Federal Regulations, Section 103.22




       JAIME ESPARZA
       United States Attorney




By:
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